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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

  JOSEPH A. DAOU and KAREN M. DAOU,

                                   Plaintiffs,

                     - against -
                                                            1:20-cv-04438-DLC
  BLC BANK, S.A.L., CREDIT LIBANAIS,
  S.A.L., AL-MAWARID BANK, S.A.L., ANd
  BANQUE DU LIBAN,

                                   Defendants.


                                             ------     x


                          DECLARATION OF NAAMAN NADDOUR

        Naaman Naddour declares as follows under penalty of perjury pursuant to 2g
                                                                                   U.S.C.

 $ 7746:

        1.     I am an Executive Director        at Banque du Liban (the "Central Bank,,), the central

bank of Irbanon, where   I am the Head of Foreign Exchange and International Operations. I

make this declaration to provide factual information supporting the Central Bank,s
                                                                                   motion to

dismiss the Complaint against   it.   The facts stated in this declaration are based on my personal

knowledge and my review of records maintained by the central Bank.

       2'      My primary languages are Arabic and French but I also speak and write English

in the course of my regular business activities. This declaration has been prepared
                                                                                    in English.

       A.      The central Bank's Financial and Regulatory Authority

       3.      The Central Bank was established in 1963 pursuant to Decree-Law no. 13513,

which enacted the Lebanese Code of Money and Credit ("CMC"). The Central Bank,s
                                                                                capital is

wholly owned by the State of Irbanon. The Central Bank nonetheless acts          as an autonomous

authority, independent from the Lebanese Government, in each of its roles.
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           4.   Among other responsibilities, the Central Bank is vested by law with the

exclusive right to issue and regulate the supply of the national currency. As stated in Article 70

of the CMC, the Central Bank is entrusted with the general mission of safeguarding the national

currency in order to ensure Lebanon's sustained social and economic growth. This mission

consists of:

                safeguarding Lebanese currency and managing the circulation of bank notes and
                coins;

           o    safeguarding economic stability in Lebanon;

           o    safeguarding the soundness of the Lebanese banking system; and

           o    developing Lebanon's monetary and financial markets.

           5.   The Central Bank exercises broad authority to fulfill its mission. For example, it

intervenes in the foreign exchange market by buying and selling foreign currencies in order to

stabilize the Lebanese pound, which is pegged to the U.S. dollar. It operates and regulates the

payment system in   Irbanon. It controls bank liquidity by adjusting discount rates   and by

intervening in the open market. It imposes reserve requirements on banks' assets. It regulates

banks' credit by imposing credit ceilings, by incentivizing banks to extend credit towards

specific purposes or sectors, and by setting the terms and regulations governing credit in

general.

       6.       The Central Bank coordinates with the Irbanese Government in order to ensure

consistency between the Central Bank's objectives and those of the Government. The Central

Bank informs the Government about economic matters that might negatively affect the national

economy and Lebanon's currency, and suggests measures that might benefit the balance of

payments and public finance, as well as offering advice on promoting economic growth.




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           7   -    The Central Bank also grants licenses to all domestic and foreign banks and other

  financial institutions doing business in Irbanon. The Banking Control Commission of Lebanon,

  an independent agency      within the Central Bank, acts   as the prudential supervisor overseeing the

  implementation of the Central Bank's regulations by these institutions. The Central Bank may

 also consult with the Association of Banks in Irbanon (ABL), a trade association
                                                                                  comprised          of
 all banks licensed by the Central Bank to operate in Irbanon, on various matters, including
                                                                                             with
 respect to regulations that the Central Bank aims to issue.

           B'       The Central Bank's Rote as Banker to Lebanon's pubtic Sector
                                                                                 and
                    Financial lnstitutions
          8'        In addition to its regulatory role, the Central Bank serves as the banker
                                                                                              to
 Lebanon's public sector, including municipalities and other I-ebanese
                                                                       government entities. It

 also has authority to maintain accounts for other central banks,
                                                                  domestic banks and financial

 institutions, and foreign banks and financial institutions.
                                                             The Central Bank does not maintain

 accounts or provide any financial services for any entities
                                                             apart than other central banks,

domestic and foreign banks, or financial institutions.
                                                       The Central Bank does not have legal

authority to maintain accounts for individuals, and it does
                                                            not maintain any such accounts except

for its own employees as stated in the paragraph number 1g.

          9'       In 1995, the Central Bank authorized banks operating in Lebanon
                                                                                   to maintain
foreign currency accounts at the central Bank. The U.S.
                                                        dollars in these accounts belong to the

depositing banks, and not to any of those banks' customers
                                                           or to the Central Bank. These

accounts at the Central Bank constitute a significant portion
                                                              of the banks, foreign currency
assets.


          10'      Banks maintaining accounts with the Central Bank may issue
                                                                              checks drawn on the
funds held in those accounts, including their U.S. dollar
                                                          accounts. The banks need not and do



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 not seek approval or authorization from the Central Bank to issue such checks. The Central

 Bank makes payment on those checks provided that the bank's account has sufficient funds to

 cover it.

         ll.    The preprinted check forms that the Central Bank provides to Irbanese banks all

 bear the legend "Payable a/AT   BEIRUT." This       has been the case since before the current

 financial crisis' This legend is placed on the checks as a consequence of Lebanese law, which

 requires that checks state where they must be paid. Thus, any checks drawn on the
                                                                                   Central Bank

 by a bank operating in Lebanon may be negotiated or deposited only in Irbanon.

         C.     The Current Financial Crisis

         12.    Unfortunately, Lebanon's economy and financial systems are in a state of grave

crisis. For years, the Lebanese Government has been operating with large fiscal deficits
                                                                                         funded

by public debt, much of which is held by the Central Bank and Lebanon's commercial
                                                                                   banks.

lrbanon also suffers from large trade deficits. As a result, the unofficial market value of the

kbanese pound has declined significantly against the U.S. dollar, which, among other
                                                                                     effects,

reduces the effective income and purchasing power of Lebanese residents.
                                                                                Civil unrest resulted
in the complete closure of Lebanon's banks for two weeks in late October,       2}lg.
        73.    To address these challenging circumstances, the Central Bank has deployed

multiple measures to help the Irbanese economy and banking system survive.
                                                                           Among the most

critical measures, the Central Bank has: (a) restricted international transfers of the
                                                                                       U.S. dollar

deposits that Lebanese banks hold with the Central Bank to those transactions
                                                                              that further

matters of vital national interest, namely the financing of wheat, medical
                                                                           and fuel imports into

Irbanon; (b) required Irbanese banks to refrain from distributing dividends for financial year

2079 and to increase their capitalby 2O percent by the end of June    2O2O   (later extended to




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 December 2020); and (c) issued a circular in December 2019 reducing interest rates on bank

 deposits in Irbanese pounds and U.S. dollars.

        L4.     Following the restriction by the Central Bank on international transfers of US

 dollar deposits that Irbanese Banks hold with the Central Bank, on Novemb er \7,2019 the ABL

 announced that it was implementing restrictions on all overseas transfers of foreign currency,

with certain limited exceptions. A copy of the ABL's release is attached   as   Exhibit 1. In a series

of statements posted on Twitter by the Central Bank on January 25,2020, the Governor of the

Central Bank confirmed as   follows: that existing deposits that were on the books of Lebanese

banks before November 17,'2019 "can be moved freely inside Lebanon"; that "all funds received

by Lebanese banks from abroad after November lTth are free to be transferred out',; and that the

Central Bank "is providing the liquidity needed by banks in both Irbanese pound and dollars,

but under one condition that the dollars lent by [the Central Bank] won't be transferred abroad.,,

A copy of these statements is attached as Exhibit   2.

        15.    On 30 April2020, the t-ebanese Government through its Council of Ministers

unanimously adopted a Financial Recovery Plan (reflecting exclusively the views of the

Lebanese Government) that sets out several key proposals to put the Lebanese economy back on

a long-term sustainable growth   path. As part of the Financial Recovery plan, the I-ebanese

Government (currently in caretaker mode) committed that the restrictions on international

transfers effected in Lebanon in Novemb er 2OI9 would remain in place until the Lebanese

economy stabilizes. The relevant portion of the Financial Recovery Plan is attached as Exhibit
                                                                                               3.

In addition, in the Financial Recovery Plan, the Irbanese Government committed to taking

action to assure the restrictions on international transfers would be implemdnted in a uniform and

comprehensive manner to avoid any unequal treatment of bank depositors.




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        16.      If this lawsuit is allowed to continue, it would frustrate the goal of maintaining

foreign currency resources until the Irbanese economy stabilizes. Other accountholders in

Irbanon with financial means and access to foreign courts would start similar lawsuits,

prejudicing the interests of small accountholders who do not enjoy such access. Any challenges

to these restrictions on overseas transfers are best resolved in Irbanon, where the interests of

accountholders can be addressed in a fair and equitable manner.

        D.       The Central Bank Reasonably Did Not Expect to Be Sued in the
                 United States

        17   .   The Central Bank is headquartered in Beirut and has nine branches, all of which

are in Lebanon. The Central Bank has no office in the United States and      it does not employ any

personnel in the United States.

        18.      The Central Bank does not regularly transact business in the United States except

to maintain U.S. dollar accounts with the Federal Reserve Bank of New York and several

correspondent banks. [t does not offer any banking services to United States residents and does

not solicit business from United States residents. Indeed, other than opening accounts for its

staff for the sole purpose of depositing their salaries, the Central Bank does not offer banking

services to any individuals.

        79.      The Central Bank does not have a customer or other relationship with the

Plaintiffs in this case, Joseph and Karen Daou. The Central Bank had no role in the issuance of

the checks issued by BLC Bank, Credit Libanais, and      AM Bank to the Plaintiffs. We did not

become aware of those checks until we received communications from the U.S. banks where the

Plaintiffs sought to deposit them.

                                     [signature on following page]




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       I declare under penalty of perjury under the laws ofthe United States of America that the

foregoing is true and correct. Executed this 30th day of Novembet, 2O2O at Beirut, lrbanon.




                                                                                    Alovv V g"4,
                                                                                         Zo Zo




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